                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 CANDICE RANA SULFRIDGE,                              )
                                                      )
        Plaintiff,                                    )
                                                      )
 v.                                                   )        No. 3:05-CV-188 (LEAD CASE)
                                                      )        (Phillips/Guyton)
 JOHN HUFF, et al.,                                   )
                                                      )
        Defendants.                                   )



                                MEMORANDUM AND ORDER

               This matter is before the undersigned pursuant to 28 U.S.C. § 636(b), the Rules of

 this Court, and by Order [Doc. 36] of the Honorable Thomas W. Phillips, United States District

 Judge, for disposition of the Defendant’s Motion to Quash Service of Process [Doc. 22].

               Defendant Knox County moves to quash service of process upon Defendants John

 Doe I, John Doe II, John Doe III, and John Doe IV [Doc. 22]. Defendant alleges that Plaintiff

 attempted to serve process on four unidentified Knox County police officers by delivering the

 summonses to the Knox County Sheriff’s Department. [Doc. 22].

               “[S]ervice of process and, by extension the institution of a lawsuit, cannot be effected

 on fictitious persons.” Oliver v. City of Memphis, 2004 WL 3316242, at *2 (W.D. Tenn. Dec. 2,

 2004). Additionally, the alleged service of process by the Defendant was not accomplished in

 compliance with Rule 4(e)(2) of the Federal Rules of Civil Procedure, which states that in the

 absence of a waiver, service of process must be made upon each defendant:

               by delivering a copy of the summons and of the complaint to the
               individual personally or by leaving copies thereof at the individual’s
               dwelling house or usual place of abode with some person of suitable



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                age and discretion then residing therein or by delivering a copy of the
                summons and of the complaint to an agent authorized by appointment
                or by law to receive service of process.

                Since service was not made on any individual defendant personally, and the personnel

 clerks of the Knox County Sheriff’s Department are not authorized to receive service of process for

 a “John Doe” or a “Jane Doe,”see the Affidavits of Candance Brandl and Amanda Kitts [Doc. 22

 Exs. 1, 2], the service of process was not completed in compliance with Rule 4(e) of the Federal

 Rules of Civil Procedure.

                Moreover, this Court notes that the Plaintiff has not filed a response in opposition to

 Defendant’s Motion to Quash Service of Process. Accordingly, the Plaintiff’s failure to respond

 shall be deemed a waiver of opposition to the Defendant’s motion, pursuant to E.D. TN. LR 7.2.

                Absent a response in opposition to Defendant’s motion from Plaintiff, and in view

 of the compelling evidence by which a summons must be effected under the Federal Rules of Civil

 Procedure, the Defendant’s Motion to Quash Service of Process [Doc. 22] is GRANTED.


                IT IS SO ORDERED.


                                               ENTER:

                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




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